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                  UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                       BRUNSWICK DIVISION

CODY WILLIAMS,                         )
                                       )
      Plaintiff,                       )       Case No. ___________
                                                        2:21-cv-7
                                       )
v.                                     )
                                       )       JURY TRIAL DEMANDED
CITY OF JESUP, GEORGIA, and            )
MIKE LANE, CHIEF OF POLICE             )
FOR CITY OF JESUP, individually        )
and in his official capacity,          )
                                       )
      Defendant.                       )
                                       )

                                  COMPLAINT

      Plaintiff Cody Williams (“Plaintiff”), by and through counsel, files this

Complaint against Defendants City of Jesup, Georgia (“Jesup”), and Mike Lane,

Chief of Police for City of Jesup, individually and in his official capacity (“Lane”),

(collectively “Defendants”) and alleges that Defendants violated the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., by failing to pay Plaintiff proper

overtime wages. In support of his claim, Plaintiff asserts as follows:

                                INTRODUCTION

      1.     This lawsuit arises from the failure of Defendants to properly calculate

and pay Plaintiff overtime pursuant to the FLSA during the period approximately

August 2018 through December 2020.



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        2.   Defendants’ failure to pay overtime is related to Plaintiff’s off-the-

clock time spent feeding, exercising, training, grooming, bathing, brushing,

transporting, and cleaning up after Defendants’ police dog.

                 THE PARTIES, JURISDICTION, AND VENUE

        3.   Plaintiff is a citizen and resident of Georgia.

        4.   The relevant period is approximately August 2018 through December

2020.

        5.   Defendant City of Jesup, Georgia is a municipality organized and

existing in Wayne County, Georgia.

        6.   Defendant Jesup can be served through the City Manager, Mike Deal,

at 162 E Cherry Street, Jesup, Georgia 31546.

        7.   Defendant Mike Lane is the Chief of Police of the City of Jesup Police

Department. He is a citizen of the United States and a resident of Wayne County,

Georgia. Defendant Lane is sued in both his individual capacity and his official

capacity as the Chief of Police.

        8.   Defendant Lane, as Chief of Police, directly supervised and controlled

Plaintiff and was the individual ultimately responsible for violating the FLSA.

        9.   At all relevant times, Plaintiff has been an employee who is, or was,

employed in an enterprise engaged in commerce or in the production of goods for

commerce, as defined by Section 3(s)(1) of the FLSA, 29 U.S.C. § 203(s)(1).


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      10.   At all relevant times, Plaintiff was entitled to the rights, protections, and

benefits provided under the FLSA, 29 U.S.C. § 201, et seq.

      11.   At all relevant times, Defendant Jesup has continuously been an

employer as defined by Section 3(d) of the FLSA, 29 U.S.C. § 203(d), and is a

“public agency” within 29 U.S.C. § 203(x), with its principal place of business

within the Southern District of Georgia, Brunswick Division.

      12.   At all relevant times during his tenure as Police Chief, Defendant Lane

has continuously been an employer as defined by Section 3(d) of the FLSA, 29

U.S.C. § 203(d).

      13.   At all relevant times, Defendants have been aware of the provisions of

the FLSA, 29 U.S.C. § 201, et seq.

      14.   Defendants reside and operate in this judicial district.

      15.   This court has subject matter jurisdiction over Plaintiffs’ FLSA claims

pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 207.

      16.   Defendant Jesup subject to the jurisdiction of this Court.

      17.   Defendant Lane is are subject to the jurisdiction of this Court.

      18.   Venue is proper in the Southern District of Georgia pursuant to 28

U.S.C. § 1391.




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                   FACTUAL BASIS OF PLAINTIFF’S CLAIMS

      19.    Defendants employed Plaintiff as a law enforcement officer.

      20.    Defendants employed and/or jointly employed Plaintiff.

      21.    At all times during his employment, Plaintiff was a non-exempt

employee of Defendants.

      22.    At all relevant times, Plaintiff was an “employee” of Defendants as that

term is used in 29 U.S.C. § 203(e)(2)(C).

      23.    At all relevant times, Defendants employed Plaintiff within the

meaning of the FLSA.

      24.    Defendants hired Plaintiff in September 2014 as a patrol officer.

      25.    Plaintiff was assigned as a K-9 Handler in August 2018.

      26.    Plaintiff’s employment with Defendants ended in December 2019.

      27.    Plaintiff’s job duties included, but were not limited to, responding to

calls for police including emergencies, patrolling assigned areas with a trained dog,

issuing citations and making arrests, inspecting crime scenes and finding and

securing evidence, writing and filing reports, testifying in court as needed, and

training and handling a K-9 dog.

      28.    In performing his job duties as a K-9 Handler, Defendants required

Plaintiff to spend time feeding, exercising, training, grooming, bathing, brushing,

transporting, and cleaning up after Defendants’ police dog.


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      29.    Plaintiff’s performed the job tasks of feeding, exercising, training,

grooming, bathing, brushing, transporting, and cleaning up after Defendants’ police

dog off the clock.

      30.    Plaintiff’s time spent feeding, exercising, training, grooming, bathing,

brushing, transporting, and cleaning up after Defendants’ police dog was excessive

and not di minimus.

      31.    At least once per month, Plaintiff was required to attend a training

session with other K9 Handlers from other law enforcement agencies.

(compensated?)

      32.    Defendants refused to compensate Plaintiff for any time spent feeding,

exercising, training, grooming, bathing, brushing, transporting, and cleaning up after

Defendants’ police dog.

      33.    Defendants knew or should have known that Plaintiff spent time off the

clock feeding, exercising, training, grooming, bathing, brushing, transporting, and

cleaning up after Defendants’ police dog.

      34.    In performing his job duties for Defendants, Plaintiff did not perform

executive functions or have any duties with regard to managing any aspect of

Defendants’ operations.

      35.    In performing his job duties for Defendants, Plaintiff did not direct or

supervise the work of any employees.


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      36.    In performing his job duties for Defendants, Plaintiff did not have the

authority to hire or fire any employee or make suggestions or recommendations as

to the hiring, firing, or changing the status of any employee.

      37.    In performing his job duties for Defendants, Plaintiff did not exercise

any discretion or independent judgment with regard to matters of significance.

      38.    Plaintiff’s job duties did not include primary work that requires

knowledge of any advanced type in a field customarily acquired by prolonged,

specialized, intellectual instruction or study.

      39.    Defendants maintained records of hours that Plaintiff worked.

      40.    Every two weeks, Defendants totaled Plaintiff’s hours for payroll

purposes.

      41.    Every two weeks, Defendants paid Plaintiff for hours worked in the

preceding two-week period.

      42.    Defendants allegedly calculated Plaintiff’s overtime wages based on a

work period pursuant to 29 U.S.C. § 207(k).

      43.    The FLSA allows for employers to calculate overtime wages on a 7 to

28-day work period for employees engaged in law enforcement activities. However,

Defendants still incorrectly and illegally calculated Plaintiff’s overtime wages.

      44.    Defendants underpaid Plaintiff overtime wage compensation required

by the FLSA.


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      45.    Defendants routinely denied Plaintiff payment of overtime wages

required by the FLSA.

      46.    Defendants willfully and/or deliberately failed to pay Plaintiff his

earned wages for hours worked in violation of the FLSA.

      47.    At all relevant times, Defendant Lane was the primary decision maker

regarding Plaintiffs’ employment.

      48.    At all relevant times during his tenure as Police Chief, Defendant Lane

was Plaintiff’s supervisor and had control and direction over workplace conditions,

operations, personnel, and compensation.

      49.    At all relevant times during his tenure as Police Chief, Defendant Lane

made hiring and firing decision relating to Plaintiff.

      50.    At all relevant times during his tenure as Police Chief, Defendant Lane

determined Plaintiff’s wages.

      51.    At all relevant times during his tenure as Police Chief, Defendant Lane

created Plaintiff’s schedules.

      52.    At all relevant times during his tenure as Police Chief, Defendant Lane

approved Plaintiff’s hours and days off.

      53.    At all relevant times during his tenure as Police Chief, Defendant Lane

approved Plaintiff’s pay checks.




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        54.   At all relevant times during his tenure as Police Chief, Defendant Lane,

as a Plaintiff’s supervisor made the decision of what to pay Plaintiff and to withhold

overtime and other pay in violation of the FLSA.

        55.   At all relevant times during his tenure as Police Chief, Defendant Lane

exercised sufficient control over Plaintiff to cause him to be individually liable for

the alleged FLSA violations.

        56.   Defendant Lane directly told Plaintiff that he would not be

compensated for any off the clock time spent feeding, exercising, training,

grooming, bathing, brushing, transporting, and cleaning up after Defendants’ police

dog.

                             COUNT I
               FAIR LABOR STANDARDS ACT VIOLATIONS
                            OVERTIME

        57.   Plaintiff realleges and incorporates by reference the preceding

paragraphs of the Complaint as if they were set forth fully herein.

        58.   At all relevant times, Defendants were engaged in interstate commerce

and/or the production of services for commerce, within the meaning of 29 U.S.C. §§

206(a) and 207(a).

        59.   At all relevant times, Defendants employed Plaintiff within the

meaning of the FLSA, 29 U.S.C. §§ 201 et seq.

        60.   At all relevant times, Defendant Jesup was a public agency (as that term


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is defined in 29 U.S.C. §§ 203(r), (s)(1), and (x)) with multiple employees (including

Plaintiff) who were engaged in commerce.

      61.    At all relevant times, Defendants had a policy and practice of failing to

pay Plaintiff for all hours worked and overtime wages in violation of the FLSA.

      62.    The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of the statute, 29 U.S.C. § 255(a).

      63.    Plaintiff suffered damages due to Defendants’ willful misconduct.

      64.    Due to Defendants’ FLSA violations, Plaintiff was damaged and is

entitled to recover from Defendants compensation for unpaid wages; an additional

equal amount as liquidated damages; and reasonable attorneys’ fees, costs, and

disbursements of this action, pursuant to 29 U.S.C. § 216(b).

                             PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff respectfully requests a trial by jury and that this

Court grant the following relief:

      A.     An award of compensation for unpaid overtime wages to Plaintiff;

      B.     An award of all liquidated damages for unpaid overtime wages to

             Plaintiff;

      C.     All such legal or equitable relief available pursuant to 29 U.S.C. § 216;

      D.     An award of costs and expenses of this action together with reasonable

             attorneys’ and expert fees to Plaintiff; and


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 E.    Such other and further relief as this Court deems just and proper.


 Respectfully submitted this January 21, 2021,

                                        /s/ Gordon Van Remmen
                                        Gordon Van Remmen
                                        Ga. Bar #215512
                                        Andrew Lampros
                                        Ga. Bar #432328
                                        HALL & LAMPROS, LLP
                                        400 Galleria Pkwy SE
                                        Suite 1150
                                        Atlanta, GA 30339
                                        Tel.: (404) 876-8100
                                        Fax: (404) 876-3477
                                        alampros@hallandlampros.com
                                        gordon@hallandlampros.com

                                        Joseph Padgett
                                        Ga. Bar # 872672
                                        Roden Law
                                        333 Commercial Dr
                                        Savannah, GA 31406
                                        Tel.: (912) 303-5850
                                        jpadgett@rodenlaw.com

                                        Attorneys for Plaintiff




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